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    5   Presented on behalf of Plaintiff and
    6
        Class Representative D. JACOBS

    7
    8                       UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10                                WESTERN DIVISION
   11   PEOPLE OF CITY OF LOS                      2:24-CV-09320-DOC-MAAx
        ANGELES WHO ARE UN-HOUSED,
   12   AS A CLASS REPRESENTED BY D.
        JACOBS, as representative of a class of             STATEMENT OF
   13   unhoused persons who reside and resided    UNCONTROVERTED       FACTS AND
        in the streets and on the sidewalks of the   CONCOLUSIONS     OF LAW, ON
   14   City of Los Angeles,                             MOTION   FOR PARTIAL
                                                       SUMMARY JUDGMENT ON
   15                       Plaintiff,                ISSUES  F EXCESSIVE FORCE
                                                          AND OF MALIICIOUS
   16                                                        PROSECUTION
                             v.
   17                                                         June 2, 2025
        KAREN BASS, et al,
   18
                                                                8:30 a.m.
                          Defendants.                        Courtroom 10A
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                                                         Judge David O. Carter
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    1                             UNCONTROVERTED FACTS
    2    1. On Sept. 2, 2024 defendant Monique           Declaration of David Jacobs, ¶ 3.
    3    Contreras "jabbed" plaintiff David
    4    Jacobs with her nightstick.
    5
    6    2. There is no evidence that Jacobs
    7    posed any danger to Contreras or
    8    others.
    9    3. On Sept. 2, 2024, Contreras, without         Id. at ¶ 2.
   10    probable cause to do so and with
   11    malice, initiated criminal charges for
   12    violation of Cal. Penal Code § 245(c)
   13    against Jacobs.
   14    4. Those charges were dismissed on              Ibid.
   15    Oct. 22, 2024.
   16    5. As a result of those charges, plaintiff      Ibid.
   17    was held in the Los Angeles County
   18    Jail from Sept. 22, 2024 to Oct. 22,
   19    2024.
   20
                                     CONCLUSIONS OF LAW
   21
              1. Defendant Contreras on Sept. 2, 2024 used excessive force against
   22
        plaintiff David Jacobs.
   23
              The Fourth Amendment to he United States Constitution provides, in
   24
        pertinent part, that "The right of the people to be secure in their persons . . .
   25
        against unreasonable . . . seizures[] shall not be violated . . . ." A use of excessive
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        force by police or jailors violates this provision of the Fourth Amendment, and
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        when police or jailors use excessive force, a plaintiff may recover damages under
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        42 U.S.C. § 1983. Davidson v. O'Lone, 752 F.2d 817, 827(3d Cir. 1984).

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    1         A seizure of the person results in a constitutional violation if it is
    2   unreasonable. Graham v. Connor, 490 U.S. 386, 109 S.Ct. 1865, 104 L.Ed.2d 443
    3   (1989). Contreras' seizure of plaintiff by using her nightstick against him was an
    4   unreasonable and did not meet the Graham standard. The determination of
    5   unreasonableness requires that it be decided "whether the totality of the
    6   circumstances justified a particular sort of . . . seizure,” Tennessee v. Garner, 471
    7   U.S. 1, 8–9, 105 S.Ct. 1694, 85 L.Ed.2d 1 (1985).
    8         When balancing the degree of force used against the governmental interests,
    9   "it is the need for force which is at the heart of the [analysis]." Headwaters Forest
   10   Def. v. Cnty. of Humboldt (“Headwaters II”), 276 F.3d 1125, 1130 (9th
   11   Cir.2002) (quoting Liston v. Cnty. of Riverside, 120 F.3d 965, 976 (9th Cir.1997))
   12   (emphasis in original). See also Headwaters Forest Def. v. Cnty. of Humboldt
   13   ("Headwaters I), 211 F.3d 1121, 1133 (9th Cir. 2000) ("[W]here there is no need
   14   for force, any force used is constitutionally unreasonable."; emphasis in original),
   15   amended by, 240 F.3d 1185, cert. granted, vacated and remanded, 534 U.S. 801,
   16   122 S.Ct. 24, 151 L.Ed.2d 1 (2001). See also P.B. v. Koch, 96 F.3d 1298, 1303–04
   17   & n. 4 (9th Cir.1996). Such here is the case, because there was no need to use any
   18   force at all, and hence the use of force was eo ipso unreasonable.
   19   there was no need whatever for Contreras to strike plaintiff with her nightstick.
   20   Therefore, Contreras striking plaintiff with her nightstick was an instance of
   21   excessive force. See Nehad v. Browder, 929 F.3d 1125, 1132 (9th Cir. 2022)
   22   ("Whether a use of force was reasonable will depend on the facts of the particular
   23   case, including, but not limited to, whether the suspect posed an immediate threat
   24   to anyone, whether the suspect resisted or attempted to evade arrest, and the
   25   severity of the crime at issue." (Citing Graham v. Connor, 490 U.S. 386, 396
   26   (1989).). "The most important Graham factor is whether the suspect posed an
   27   immediate threat to anyone's safety. Mattos v. Agarano, 661 F.3d 433, 441 (9th
   28   Cir. 2011) (en banc). Here, there was no threat to anyone's safety.


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    1         2. On Sept. 2, 2024, defendant Contreras initiated a malicious prosecution
    2   against plaintiff David Jacobs.
    3         By initiating the criminal prosecution of plaintiff without probable cause to
    4   do so and with malice, which charge was dismissed, and which charge harmed
    5   plaintiff by his having to endure it and spending two months in the county jail,
    6   Contreras is liable for the malicious prosecution of plaintiff. Thompson v. Clark,
    7   596 U.S. 36 (2022). Contreras is liable under both the Fourth Amendment and the
    8   Fourteenth Amendment Due Process Clause.
    9         June 2, 2025                           _____________________________
   10                                              DAVID O. CARTER
   11                                             United States District Judge

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